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    Fill in this information to identify the case:


    United States Bankruptcy Court for the District of Delaware

    Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            06/22

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
 (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                Cano Health, LLC


   2.   All other names debtor used                  Belen Medical Centers                                            University Health Care
        in the last 8 years                          Healthy Partners
        Include any assumed names, trade
                                                     Healthy Partners Primary Care
        names, and doing business as                 Doctors Medical Pediatrics
        names                                        Doctors Medical Center


   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     9725       NW 117th Avenue
                                                     Number     Street                                                     Number                    Street



                                                                                                                           P.O. Box


                                                     Miami                 Florida                 33178
                                                     City                  State                   ZIP Code                City                      State        ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business
                                                     Miami-Dade
                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State            ZIP Code



   5.   Debtor’s website (URL)                       https://www.canohealth.com

   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


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                                                                                                Case number (if known)
               Cano Health, LLC                                                                                                 24-_____ ( )
               Name


                                            A. Check one:
7.   Describe debtor’s business
                                            ☒ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☐ None of the above


                                            B. Check all that apply:
                                            ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               6211 - Offices of Physicians

8.   Under which chapter of the
                                            Check one:
     Bankruptcy Code is the
     debtor filing?                         ☐ Chapter 7
                                            ☐ Chapter 9
                                            ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and
     debtor” must check the first subbox.                      its aggregate noncontingent liquidated debts (excluding debts owed to insiders
     A debtor as defined in § 1182(1) who                      or affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     elects to proceed under subchapter V                      recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not the                         income tax return or if any of these documents do not exist, follow the procedure
     debtor is a “small business debtor”)                      in 11 U.S.C. § 1116(1)(B).
     must check the second sub-box.
                                                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                               are less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or
                                                               if any of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                               1116(1)(B).
                                                             ☐ A plan is being filed with this petition.
                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                               the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                               Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                               Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                               with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                               1934 Rule 12b-2.
                                            ☐ Chapter 12
9.   Were prior bankruptcy cases            ☒ No
     filed by or against the debtor
                                            ☐ Yes        District                          When                         Case number
     within the last 8 years?
                                                                                                       MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                         District                          When                         Case number
                                                                                                        MM / DD/ YYYY




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                                                                                                  Case number (if known)
                Cano Health, LLC                                                                                                           24-_____ ( )
                Name



10. Are any bankruptcy cases                  ☐ No
    pending or being filed by a
    business partner or an                    ☒ Yes          Debtor       See Schedule 1                                      Relationship      See Schedule 1
    affiliate of the debtor?                                 District     Delaware                                            When              February 4, 2024
      List all cases. If more than 1,                                                                                                            MM / DD/ YYYY
                                                             Case number, if known
      attach a separate list.



11.      Why is the case filed in this        Check all that apply:
         district?
                                              ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                              ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                              ☒ No
    possession of any real
    property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                           Where is the property?
                                                                                           Number                    Street


                                                                                           City                                State               ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                 Statistical and administrative information



   13. Debtor’s estimation of                 Check one:
       available funds                        ☒   Funds will be available for distribution to unsecured creditors.
                                              ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                    
                                              ☐   1-49                                 ☐     1,000-5,000                               ☐     25,001-50,000
       creditors                              ☐   50-99                                ☐     5,001-10,000                              ☐     50,001-100,000
          (on a consolidated basis with all   ☐   100-199                              ☐     10,001-25,000                             ☒     More than 100,000
          affiliated debtors)
                                              ☐   200-999


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                                                                                                  Case number (if known)
               Cano Health, LLC                                                                                                      24-_____ ( )
               Name



   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐      $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒      $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐      $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐      More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐      $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒      $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐      $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐      More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  17. Declaration and signature of                     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of                      this petition.
      debtor
                                                       I have been authorized to file this petition on behalf of the debtor.

                                                       I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on February 4, 2024
                                                                         MM / DD/ YYYY


                                                            /s/ Mark Kent                                              Mark Kent
                                                            Signature of authorized representative of                  Printed name
                                                             debtor

                                                            Authorized Signatory
                                                            Title




  18. Signature of attorney                             /s/ Michael J. Merchant                                      Date      February 4, 2024
                                                       Signature of attorney for debtor                                       MM / DD / YYYY
                                                       Michael J. Merchant                                          Gary T. Holtzer
                                                         Printed Name
                                                
                                                       Richards, Layton & Finger, P.A.                              Weil, Gotshal & Manges LLP
                                                         Firm Name
                                                
                                                       One Rodney Square, 920 North King Street                     767 Fifth Avenue
                                                         Address
                                                
                                                       Wilmington, Delaware 19801                                   New York, New York 10153
                                                         City/State/Zip
                                                
                                                       (302) 651-7700                                               (212) 310-8000
                                                         Contact Phone
                                                
                                                       merchant@rlf.com                                             gary.holtzer@weil.com
                                                         Email Address
                                                
                                                       3854                                Delaware
                                                       Bar Number                          State



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                                              Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the affiliated entities listed below (including the debtor
in this chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under
chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for the
District of Delaware (the “Court”). The Debtors will file a motion with the Court requesting their
chapter 11 cases be consolidated for procedural purposes only and jointly administered under the
case number assigned to the chapter 11 case of Cano Health, Inc.

                                            COMPANY
         Cano Health, Inc.
         Primary Care (ITC) Intermediate Holdings, LLC
         Cano Health, LLC
         Cano Health Nevada Network, LLC
         Cano Occupational Health, LLC
         American Choice Healthcare, LLC
         Cano PCP Wound Care, LLC
         Cano Personal Behavior LLC
         Cano PCP, LLC
         Cano Behavior Health LLC
         Cano Belen, LLC
         Cano Health New Mexico LLC
         Complete Medical Billing and Coding Services, LLC
         Cano Health of Puerto Rico LLC
         Cano Health of Florida, LLC
         Cano Health CA1 MSO LLC
         Comfort Pharmacy 2, LLC
         Cano Medical Center of West Florida, LLC
         CH Dental Administrative Services LLC
         DGM MSO, LLC
         Cano Research LLC
         Cano PCP MSO, LLC
         Cano HP MSO, LLC
         ACH Management Services, LLC
         CHPR MSO LLC
         Orange Healthcare Administration, LLC
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                                 COMPANY
Orange Care Group South Florida Management Services Organization, LLC
Orange Accountable Care Organization of South Florida LLC
Orange Accountable Care Organization, LLC
American Choice Commercial ACO, LLC
Orange Care IPA of New York, LLC
Orange Care IPA of New Jersey, LLC
Total Care ACO, LLC
Cano Health CA1, LLC
Cano Health Illinois 1 MSO, LLC
Solis Network Solutions, LLC
Physicians Partners Group Merger, LLC
Physicians Partners Group Puerto Rico, LLC
Physicians Partners Group of FL, LLC
PPG Puerto Rico Blocker, Inc.
Physicians Partners Group Puerto Rico, LLC
Cano Health Illinois Network, LLC
Cano Pharmacy, LLC
IFB Pharmacy, LLC
Belen Pharmacy Group, LLC
University Health Care Pharmacy, LLC
Cano Health New York, IPA, LLC
Clinical Research of Hollywood, P.A.




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                                   OMNIBUS ACTION BY
                                    WRITTEN CONSENT
                                OF THE GOVERNING BODIES
                                     OF THE ENTITIES

                                         February 4, 2024

                WHEREAS, the undersigned, being all of the members of the board of directors,
all of the members of the board of managers, the managing member or the sole member, as the
case may be (in each case, the “Governing Body” and collectively, the “Governing Bodies”), of
each of the entities specified on the signature pages hereto (each, an “Entity” and collectively,
the “Entities”) do hereby consent to, adopt, and approve by unanimous written consent the
following resolutions in accordance with applicable law and the relevant provisions of the
respective governing documents of the applicable Entity, and direct that this written consent be
filed with the minutes of the proceedings of the relevant Governing Body;

             WHEREAS, each Entity is a direct or indirect subsidiary of Cano Health, Inc., a
Delaware corporation (“Cano Health” and together with the Entities, the “Company”);

              WHEREAS, Cano Health, with the assistance of legal and financial advisors, has
been conducting a review of strategic alternatives;

                WHEREAS, the Board of Directors (the “Board”) of Cano Health previously
delegated to a special Finance Committee, consisting of 3 independent members of the Board
(the “Finance Committee”), certain responsibilities, powers, and authority to, among other things,
evaluate, explore, negotiate, and make recommendations to the Board with respect to the
exploration of financing alternatives and the evaluation of certain strategic alternatives for Cano
Health and its subsidiaries, including but not limited to, a refinancing of all or any portion of Cano
Health’s existing indebtedness, or other restructuring transactions, filings or transactions otherwise
designed to address Cano Health’s liquidity constraints;

               WHEREAS, the Finance Committee recommended to the Board, and on February
4, 2024, the Board authorized and approved, the actions set forth below, including the filing by
Cano Health of a voluntary petition seeking relief under the provisions of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”), and authorized and instructed the applicable
Governing Bodies to take substantially similar action;

                 WHEREAS, the Governing Body of each Entity has reviewed and had the
opportunity to ask questions about the materials presented by its management and legal and
financial advisors regarding the liabilities and liquidity of such Entity, the strategic alternatives
available to it and the impact of the foregoing on such Entity’s businesses;

                WHEREAS, the Governing Body of each Entity has had the opportunity to consult
with its management and legal and financial advisors to fully consider, and has considered, each
of the strategic alternatives available to such Entity; and
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               WHEREAS, each Governing Body believes that taking the actions set forth below
are in the best interests of the applicable Entity and, therefore, desires to adopt, authorize, and
approve the following resolutions:

  I.    Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT

                 RESOLVED, that each Governing Body has determined, after consultation with
its management and legal and financial advisors, that it is desirable and in the best interests of such
Entity, its creditors, and other parties in interest that a petition be filed by such Entity seeking relief
under the provisions of the Bankruptcy Code; and be it further

                RESOLVED, that the Chief Executive Officer of Cano Health, Interim Chief
Financial Officer of Cano Health, Chief Operating Officer of Cano Health, and General Counsel
and Chief Compliance Officer of Cano Health, or each such officer’s designees (each, an
“Authorized Person”), in each case, acting singly or jointly, be, and each hereby is, authorized,
empowered, with full power of delegation, and directed to negotiate, execute, deliver, and file, in
the name and on behalf of each Entity, and under its corporate seal or otherwise, all plans, petitions,
schedules, statements, motions, lists, applications, pleadings, papers, affidavits, declarations, and
other documents (the “Chapter 11 Filings”) in the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”) (with such changes therein and additions thereto as any
such Authorized Person may deem necessary, appropriate or advisable, the execution and delivery
of any of the Chapter 11 Filings by any such Authorized Person with any changes thereto to be
conclusive evidence that any such Authorized Person deemed such changes to meet such standard);
and be it further

               RESOLVED, that each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed to take and perform any and all further
acts and deeds which such Authorized Person deems necessary, appropriate, or desirable in
connection with such Entity’s chapter 11 case (each, a “Chapter 11 Case”) or Chapter 11 Filings,
including, without limitation, (i) the payment of fees, expenses and taxes such Authorized Person
deems necessary, proper, or desirable, and (ii) negotiating, executing, delivering, performing, and
filing any and all documents, motions, pleadings, applications, declarations, affidavits, schedules,
statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with the Chapter 11 Case, with a view to the successful
prosecution of such Chapter 11 Case (such acts to be conclusive evidence that such Authorized
Person deemed the same to meet such standard); and be it further

 II.    Restructuring Support Agreement

        RESOLVED, that in connection with the Chapter 11 Cases, it is in the best interests of the
each Entity to enter into a Restructuring Support Agreement (the “Restructuring Support
Agreement”) on terms and conditions substantially similar to those set forth in the form of the
Restructuring Support Agreement previously provided to the Governing Bodies, together with
such changes therein and additions thereto as any Authorized Person, who may act without the
joinder of any other Authorized Person, executing the same may deem necessary or appropriate

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(with such execution being conclusive evidence that such Authorized Person deemed the same to
meet such standard); and be it further

        RESOLVED, that the form, terms, and provisions of the Restructuring Support
Agreement, and all the exhibits annexed thereto, together with such changes therein and additions
thereto as any Authorized Person, who may act without the joinder of any other Authorized Person,
executing the same may deem necessary or appropriate, and the execution, delivery, and
performance thereof and the consummation of the transactions contemplated thereunder by the
Entities are hereby authorized, approved, and declared advisable and in the best interests of the
Entities, with such changes therein and additions thereto as any Authorized Person, who may act
without the joinder of any other Authorized Person, executing the same may deem necessary or
appropriate, it being acknowledged that the execution of the Restructuring Support Agreement and
such other documents, agreements, instruments, notices, filings, and certificates as may be required
or contemplated by the Restructuring Support Agreement, as applicable, shall be conclusive
evidence of the approval thereof; and be it further

        RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Entities, to
cause the Entities to enter into, execute, deliver, certify, file and/or record, and perform the
obligations arising under, the Restructuring Support Agreement, substantially in the form
previously presented to the Governing Bodies, together with such changes therein and additions
thereto as any Authorized Person, who may act without the joinder of any other Authorized Person,
executing the same may deem necessary or appropriate, and such other documents, agreements,
instruments, notices, filings, and certificates as may be required by the Restructuring Support
Agreement; and be it further

        RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Entities, to
execute and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the Restructuring Support Agreement and/or any
related documents which shall, in such Authorized Person’s sole judgment, be necessary, proper
or advisable (the execution and delivery of any such amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions and extensions being conclusive evidence
that such Authorized Person deemed the same to meet such standard).

    I.   Debtor-in-Possession Financing1

                RESOLVED, that in connection with the Chapter 11 Cases, it is in the best interests
of (i) in the case of Cano Health, LLC, a Florida limited liability company and a debtor and
debtor-in-possession under chapter 11 of the Bankruptcy Code (the “Borrower”), to enter into
and obtain loans, (ii) in the case of Cano Health and each Entity (other than the Borrower)
(collectively, the “DIP Guarantors”), to guarantee the Borrower’s obligations under the DIP
Credit Agreement (as defined below), and (iii) in the case of the Company, to consummate the
transactions under that certain Credit Agreement (as may be amended, restated, amended and

1
     Capitalized terms used in this section with respect to the DIP Financing (as defined herein) and not otherwise
     defined herein shall have the meanings set forth in the DIP Credit Agreement (as defined herein).

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restated, supplemented, or otherwise modified from time to time, the “DIP Credit Agreement”),
consisting of a superpriority, senior-secured, term loan credit facility in the aggregate principal
amount of up to $ 150 million (the “DIP Financing”), by and among the Borrower, Primary Care
(ITC) Intermediate Holdings, LLC, a Delaware limited liability company and a debtor and debtor-
in-possession under chapter 11 of the Bankruptcy Code (“Holdings”), each lender from time to
time party thereto (the “DIP Lenders”), and Wilmington Savings Fund Society, FSB, as
administrative agent and collateral agent (in such capacity, together with its successors and
permitted assigns, the “DIP Agent” and collectively with the DIP Lenders, the “DIP Secured
Parties”), subject to approval by the Bankruptcy Court, which financing is necessary and
appropriate to the conduct of the business of the Company during the Chapter 11 Cases; and be
it further

                RESOLVED, that the terms and provisions of and the execution and delivery of
the DIP Credit Agreement and the Additional DIP Documents (as defined below) (collectively,
the “DIP Documents”) by each Entity that is party thereto and the consummation by such Entity
of the transactions contemplated thereunder, including (i) in the case of the Borrower, the
borrowing of funds under the DIP Credit Agreement, (ii) in the case of the DIP Guarantors, the
guaranty of the obligations thereunder as provided in the DIP Documents, (iii) the grant of a
security interest in and liens upon, mortgage, collateral assignment, hypothecation or pledge of
substantially all of such Entity’s assets, whether now owned or hereafter acquired, in favor of the
DIP Secured Parties securing the obligations under the DIP Credit Agreement, (iv) the filing by
the DIP Agent of UCC financing statements and other filings or recording documents or
instruments with respect to the collateral that may be required, necessary, appropriate, desirable,
or advisable to perfect the security granted and (v) the terms and provisions of and the execution,
delivery and performance of all other agreements, DIP Documents, and/or all other related
documents constituting exhibits to the DIP Credit Agreement or that may be required, necessary,
convenient, appropriate, desirable or advisable to be executed or delivered pursuant to the DIP
Credit Agreement or otherwise related thereto, including, without limitation, (a) any other Loan
Document and (b) all certificates, notices, filings and other documents and agreements
constituting exhibits to or required by the DIP Documents (each an “Additional DIP Document”
and collectively, the “Additional DIP Documents”), the making of the representations and
warranties in the DIP Credit Agreement and the Additional DIP Documents and compliance with
the covenants under the DIP Credit Agreement and the Additional DIP Documents and the
assumption of any obligations under and in respect of any of the foregoing, are hereby authorized
and approved in all respects, and that each of the Chief Executive Officer of Cano Health, the
Interim Chief Financial Officer of Cano Health, and the Chief Operating Officer of Cano
Health (each, an “Authorized DIP Executive”), each of whom may act without the joinder of
any other person, is hereby severally authorized, empowered, and directed, in the name and
on behalf of the Company, to negotiate, approve and review the DIP Credit Agreement and
each Additional DIP Document to which the Company is a party, including with respect to any
changes or additions thereto as any such Authorized DIP Executive, in their sole discretion,
may deem necessary, convenient, appropriate, advisable, or desirable, and following such
approval, any Authorized DIP Executive or any officer of the Company (each, a “DIP
Authorized Person”), each of whom may act without the joinder of any other DIP Authorized
Person, is hereby severally authorized, empowered, and directed, in the name and on behalf of
such Entity, to execute and deliver the DIP Credit Agreement and such Additional DIP
Documents; and be it further

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                RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit
Agreement, including the use of proceeds to provide liquidity for the Company throughout the
Chapter 11 Cases, substantially in the form presented to the Governing Body and (ii) any and
all of the Additional DIP Documents, agreements, including, without limitation, any guarantee
and security agreement, letters, notices, certificates, documents, filings and instruments
authorized, executed, delivered, reaffirmed, verified, and/or filed in connection with the DIP
Financing and the performance of obligations thereunder, including the borrowings and
guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and
approved; and be it further

                RESOLVED, that the signature of any DIP Authorized Person of any Entity to
(i) the DIP Credit Agreement and (ii) any Additional DIP Document to which such Entity is a
party shall be conclusive evidence of the authority of such DIP Authorized Person to execute and
deliver the DIP Credit Agreement and/or such Additional DIP Documents to which such Entity
is a party; and be it further

                RESOLVED, that each Authorized DIP Executive of each Entity, who may act
without the joinder of any other Authorized DIP Executive, is hereby severally authorized, in
the name of and on behalf of such Entity, to take all actions (including, without limitation, (i) the
negotiation, execution, delivery and filing of any agreement, certificate, instrument, or
document (including any mortgage, financing statement, and/or similar document), (ii) the
modification, amendment or waiver of, or consent to, any of the terms and conditions of the DIP
Credit Agreement and/or any Additional DIP Document to which such Entity is a party, (iii) the
payment of any consideration and (iv) the payment of indemnitees, fees, costs, expenses, taxes,
and other amounts incurred by such Entity as any such Authorized DIP Executive, in his or her
sole discretion, may deem necessary, convenient, appropriate, desirable, or advisable, and may
instruct any DIP Authorized Person to execute and deliver any such instruments or documents
(such acts to be conclusive evidence that such Authorized DIP Executive deemed the same to
meet such standard)) in order to effect the transactions contemplated under the DIP Credit
Agreement and any Additional DIP Document to which such Entity is a party, and all acts of
any such Authorized DIP Executive or DIP Authorized Person taken pursuant to the authority
granted herein, or having occurred prior to the date hereof in order to effect such transactions,
are hereby approved, adopted, ratified, and confirmed in all respects; and be it further

                 RESOLVED, that each Authorized DIP Executive of each Entity, who may act
without the joinder of any other Authorized DIP Executive, be, and hereby is, severally
authorized, in the name and on behalf of such Entity, to prepare any amendment, waiver, and/or
consent under the DIP Credit Agreement and/or any Additional DIP Document to which such
Entity is a party as may be necessary, convenient, appropriate, desirable, or advisable at any time
or from time to time, which amendment, waiver and/or consent may provide for modification or
relief under the DIP Credit Agreement and/or any Additional DIP Document to which such
Entity is a party and may require consent payments, fees, or other amounts payable in connection
therewith, and that each DIP Authorized Person of each Entity be, and hereby is, authorized, in
the name and on behalf of such Entity, to execute and deliver such amendments, waivers or
consents under the DIP Credit Agreement and/or any Additional DIP Document to which such
Entity is a party as such DIP Authorized Person shall deem to be necessary, convenient,
appropriate, desirable, or advisable, such execution and delivery by such DIP Authorized Person

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 to constitute conclusive evidence of his or her determination and approval of the necessity,
 convenience, appropriateness, desirability or advisability thereof; and be it further

                RESOLVED, that any person dealing with any DIP Authorized Person of any
Entity in connection with any of the foregoing matters shall be conclusively entitled to rely upon
the authority of such officer and by his or her execution of any document or agreement, the same
shall be valid and binding obligations of such Entity enforceable in accordance with their terms;
and be it further

               RESOLVED, that the Governing Body of each Entity hereby authorizes any
current and/or future subsidiary of such Entity, to the extent applicable, to execute any agreement
and/or document as may be contemplated by the DIP Credit Agreement and/or any Additional DIP
Document to which such Entity is a party; and be it further

 II.   Retention of Advisors

               RESOLVED, that, in connection with each Entity’s Chapter 11 Case, each
Authorized Person, in each case, acting singly or jointly, be, and each hereby is, authorized,
empowered, and directed to employ and retain all assistance by legal counsel, accountants,
financial advisors, investment bankers and other professionals which such Authorized Person
deems necessary, appropriate, or desirable in connection with, or in furtherance of, such Entity’s
Chapter 11 Case, with a view to the successful prosecution of such Chapter 11 Case (such acts to
be conclusive evidence that such Authorized Person deemed the same to meet such standard); and
be it further

               RESOLVED, that, with respect to each Entity, the law firm of Weil, Gotshal &
Manges LLP, located at 767 Fifth Avenue, New York, New York 10153, is hereby retained as
attorneys for such Entity in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it
further

                RESOLVED, that, with respect to each Entity, the firm of Houlihan Lokey, Inc.,
located at 245 Park Ave, 20th Floor, New York, NY 10167, is hereby retained as investment banker
for such Entity in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that, with respect to each Entity, the firm of AlixPartners, LLP,
located at 909 Third Ave, New York, NY 10022, is hereby retained as financial advisor for such
Entity in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that, with respect to each Entity, the law firm of Richards, Layton &
Finger P.A., located at One Rodney Square, 920 North King St., Wilmington, DE 19801, is hereby
retained as attorneys for such Entity in its Chapter 11 Case, subject to Bankruptcy Court approval;
and be it further

               RESOLVED, that, with respect to Cano Health, the law firm of Quinn Emanuel
Urquhart & Sullivan, LLP, located at 51 Madison Ave 22nd floor, New York, NY 10010, is hereby
retained as special counsel to Cano Health in its Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further


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                RESOLVED, that Kurtzman Carson Consultants LLC, located at 222 N. Pacific
Coast Highway, 3rd Floor, El Segundo, CA 90245, is hereby retained as claims, noticing, and
solicitation agent for the Entities in their Chapter 11 Cases, subject to Bankruptcy Court approval;
and be it further

                RESOLVED, that, with respect to each Entity, each Authorized Person, in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to take
and perform any and all further acts and deeds, including, without limitation, (i) the payment of
any consideration, (ii) the payment of fees, expenses and taxes such Authorized Person deems
necessary, proper, or desirable, and (iii) negotiating, executing, delivering and performing any and
all documents, motions, pleadings, applications, declarations, notices, filings, affidavits,
schedules, statements, lists, papers, agreements, certificates and/or instruments (or any
amendments or modifications thereto) in connection with the engagement of professionals
contemplated by the foregoing resolutions (such acts to be conclusive evidence that such
Authorized Person deemed the same to meet such standard); and be it further

III.   General

                RESOLVED, that, with respect to each Entity, each Authorized Person, in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to take
and perform any and all further acts or deeds, including, but not limited to, (i) the negotiation of
such additional agreements, amendments, modifications, supplements, renewals, replacements,
consolidations, substitutions, extensions, reports, documents, instruments, applications, notes or
certificates not now known but which may be required, (ii) the execution, delivery and filing (if
applicable) of any of the foregoing, and (iii) the payment of all fees, consent payments, taxes and
other expenses as any such Authorized Person, in their sole discretion, may approve or deem
necessary, appropriate or desirable in order to carry out the intent and accomplish the purposes of
the foregoing resolutions and the transactions contemplated thereby, all of such actions,
executions, deliveries, filings and payments to be conclusive evidence of such approval or that
such Authorized Person deemed the same to be so necessary, appropriate or desirable; and be it
further

                RESOLVED, that any and all past actions heretofore taken by any Authorized
Person, any director, or any member of any Entity, in the name and on behalf of such Entity on
behalf of, or for the benefit of, such Entity or in furtherance of any or all of the preceding
resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects.

                           [Remainder of page intentionally left blank]




                                                 7
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                            Case 24-10167-KBO                Doc 1   Filed 02/05/24     Page 14 of 36




                             IN WITNESS WHEREOF, the undersigned, being the Governing Body of
            Primary Care (ITC) Intermediate Holdings, LLC, has executed this written consent as of the date
            first set forth above.

                                                                Cano Health, Inc., as the managing member of
                                                                Primary Care (ITC) Intermediate Holdings, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                          IN WITNESS WHEREOF, the undersigned, being the Governing Body of Cano
            Health, LLC, has executed this written consent as of the date first set forth above.

                                                                Primary Care (ITC) Intermediate Holdings,
                                                                LLC, as the sole member of Cano Health, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health Nevada Network, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer

                                                                Cano Health, LLC, as the sole member of Cano
                                                                Occupational Health, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of
                                                                American Choice Healthcare, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                PCP Wound Care, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the manager of Cano
                                                                Personal Behavior LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                PCP, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Behavior Health LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Belen, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health New Mexico LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of
                                                                Complete Medical Billing and Coding Services,
                                                                LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health of Puerto Rico LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health of Florida, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health CA1 MSO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Comfort
                                                                Pharmacy 2, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the manager of Cano
                                                                Medical Center of West Florida, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the manager of CH Dental
                                                                Administrative Services LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of DGM
                                                                MSO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Research LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                PCP MSO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of Cano
                                                                HP MSO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of CHPR
                                                                MSO LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Orange
                                                                Healthcare Administration, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Orange
                                                                Care Group South Florida Management Services
                                                                Organization, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of Orange
                                                                Accountable Care Organization of South Florida
                                                                LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Orange
                                                                Accountable Care Organization, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of
                                                                American Choice Commercial ACO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Orange
                                                                Care IPA of New York, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of Orange
                                                                Care IPA of New Jersey, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Total
                                                                Care ACO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health CA 1, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health Illinois 1 MSO, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Solis
                                                                Network Solutions, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of
                                                                Physicians Partners Group Merger, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health Illinois Network, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Pharmacy, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as the sole member of Cano
                                                                Health New York IPA, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Health, LLC, as sole shareholder of Clinical
                                                                Research of Hollywood, P.A.

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Health, LLC, as the sole member of ACH
                                                                Management Services, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                Cano Pharmacy, LLC, as the sole member of IFB
                                                                Pharmacy, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Pharmacy, LLC, as the sole member of
                                                                Belen Pharmacy Group, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Cano Pharmacy, LLC, as the manager of
                                                                University Health Care Pharmacy, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.

                                                                Physicians Partners Group Merger, LLC, as the
                                                                sole member of Physicians Partners Group Puerto
                                                                Rico, LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer



                                                                Physicians Partners Group Merger, LLC, as the
                                                                sole member of Physicians Partners Group of FL,
                                                                LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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                        IN WITNESS WHEREOF, the undersigned, being the Governing Body of each
            Company hereafter listed, has executed this written consent as of the date first set forth above.



                                                                BOARD OF DIRECTORS OF PPG PUERTO
                                                                RICO BLOCKER, INC.



                                                                Name: Mark D. Kent
                                                                Title: Director




                                                  [Signature Page to Omnibus Consent]
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                           IN WITNESS WHEREOF, the undersigned, being the Governing Body of
            Physicians Partners Group Puerto Rico, LLC, has executed this written consent as of the date first
            set forth above.

                                                                PPG Puerto Rico Blocker, Inc., as the managing
                                                                member of Physicians Partners Group Puerto Rico,
                                                                LLC

                                                                By:
                                                                Name: Mark D. Kent
                                                                Title: Chief Executive Officer




                                                  [Signature Page to Omnibus Consent]
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 Fill in this information to identify the case:

 Debtor name: Cano Health, LLC
 United States Bankruptcy Court for the District of Delaware
                                                 (State)
 Case number (If known):      24-_____ ( )                                                                                               ☐ Check if this is an
                                                                                                                                              amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                              12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
claims.
Name of creditor and complete mailing address,         Name, telephone number, and email          Nature of the      Indicate if      Amount of unsecured claim
including zip code                                     address of creditor contact                     claim          claim is        If the claim is fully unsecured, fill in only
                                                                                                  (for example,     contingent,       unsecured claim amount. If claim is partially
                                                                                                   trade debts,    unliquidated,      secured, fill in total claim amount and
                                                                                                   bank loans,      or disputed       deduction for value of collateral or setoff to
                                                                                                   professional                       calculate unsecured claim.
                                                                                                  services, and
                                                                                                   government
                                                                                                    contracts)
                                                                                                                                        Total        Deduction      Unsecured claim
                                                                                                                                      claim, if     for value of
                                                                                                                                      partially     collateral or
                                                                                                                                      secured          setoff
1    U.S. Bank National Association, as Trustee        Attn.: Christine Robinette, Global
     Attn.: Christine Robinette, Global Corporate      Corporate Trust Services
     Trust Services                                    Phone: (651) 466‐6307                       Unsecured        Contingent
                                                                                                                                                                    $306,406,250.00
     West Side Flats                                   Email: christine.robinette@usbank.com         Bonds         Unliquidated
     60 Livingston Avenue, EP‐MN‐WS3C
     Saint Paul, Minnesota 55107
2    CD Support LLC                                    Attn.: David Joe
     Attn.: David Joe                                  Phone: (888) 411‐2290                         Trade
     85 Argonaut, Suite 220                            Email: djoe@onsitedental.com                                                                                  $5,572,277.50
                                                                                                    Payable
     Aliso Viejo, California 92656

3    Northeast Series of Lockton LLC                   Attn.: Legal Department
     Attn.: Legal Department                           Phone: (646) 572‐7300                         Trade
     1185 Avenue of the Americas, Suite 2010           Email: northeast‐tsa@lockton.com                                                                              $3,357,287.26
                                                                                                    Payable
     New York, New York 10036‐2601

4    Second Wave Delivery Systems, LLC                 Attn.: Frederick Leathers
     Attn.: Frederick Leathers                         Phone: (954) 368‐9175                         Trade
     9060 W. Cheyenne Avenue                           Email:                                                                                                        $2,294,687.50
                                                                                                    Payable
     Las Vegas, Nevada 89129                           fred.leathers@secondwaveds.com

5    Preferred Care Partners Inc.                      Attn.: Legal Department
     Attn.: Legal Department                           Phone: (305) 670‐8440                         Trade
     9100 S Dadeland Boulevard, Suite 1250             Facsimile: (888) 950‐1169                                                                                     $1,134,541.98
                                                                                                    Payable
     Miami, Florida 33156‐7838

6    MedCloud Depot LLC                                Attn.: Legal Department
     Attn.: Legal Department                           Phone: (786) 601‐4656                         Trade
     13155 SW 134th Street, Suite 211                  Email: invoice@medclouddept.com                                                                                $819,568.94
                                                                                                    Payable
     Miami, Florida 33186

7    The Siegfried Group, LLP                          Attn.: Roxanne Meyer
     Attn.: Roxanne Meyer                              Phone: (302) 984‐1800                      Professional
     1201 North Market Street, Suite 700               Email: ar@siegfreidgroup.com                                                                                   $565,057.76
                                                                                                    Services
     Wilmington, Delaware 19801

8    Cushman & Wakefield, Inc.                         Attn.: Tiffany Hunt
     Attn.: Tiffany Hunt                               Phone: (314) 356‐2469                         Trade
     575 Maryville Center Drive                        Email: tiffany.hunt@cushwake.com                                                                               $538,108.77
                                                                                                    Payable
     Town and Country, Missouri 63141



 Official Form 204                                  List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 1
                                       Case 24-10167-KBO              Doc 1          Filed 02/05/24             Page 30 of 36
Debtor      Cano Health, LLC                                                                       Case number (if known)           24-_____ ( )
            Name

Name of creditor and complete mailing address,      Name, telephone number, and email          Nature of the      Indicate if      Amount of unsecured claim
including zip code                                  address of creditor contact                     claim          claim is        If the claim is fully unsecured, fill in only
                                                                                               (for example,     contingent,       unsecured claim amount. If claim is partially
                                                                                                trade debts,    unliquidated,      secured, fill in total claim amount and
                                                                                                bank loans,      or disputed       deduction for value of collateral or setoff to
                                                                                                professional                       calculate unsecured claim.
                                                                                               services, and
                                                                                                government
                                                                                                 contracts)
                                                                                                                                     Total        Deduction      Unsecured claim
                                                                                                                                   claim, if     for value of
                                                                                                                                   partially     collateral or
                                                                                                                                   secured          setoff
9    Trueshore BPO, LLC                             Attn.: Maria Rufin
     Attn.: Maria Rufin                             Phone: (305) 902‐2338                         Trade
     1700 79th Street Causeway, Suite 120           Email: mfrufin@elitehealth.com                                                                                 $519,069.30
                                                                                                 Payable
     North Bay Village, Florida 33141

10   Navina Technologies Ltd.                       Attn.: Hila Dalal
     Attn.: Hila Dalal                              Phone: +524833902                             Trade
     Menachem Begin 156                             Email: hila.ds@navina.ai                                                                                       $480,000.00
                                                                                                 Payable
     Tel Aviv, Israel 6492108

11   Enterprise FM Trust                            Attn.: Legal Department
     Attn.: Legal Department                        Phone: (877) 233‐5338                         Trade
     600 Corporate Park Drive                       Email: asia.m.loveless@afleets.com                                                                             $364,844.10
                                                                                                 Payable
     St. Louis, Missouri 63105

12   Eclinical Works, LLC                           Attn.: Legal Department
     Attn.: Legal Department                        Phone: (508) 836‐2700                         Trade
     2 Technology Drive                             Email: ecwar@eclinicalworks.com                                                                                $357,425.02
                                                                                                 Payable
     Westborough, Massachusetts 01581

13   RAPID7 LLC                                     Attn.: Nick Sestito
     Attn.: Nick Sestito                            Phone: (617) 247‐1717                         Trade
     120 Causeway Street, Suite 400                 Email: mocl_sesyoyp@rapid7.com                                                                                 $335,484.59
                                                                                                 Payable
     Boston, Massachusetts 02114

14   BOF FL Flagler Station LLC                     Attn.: Legal Department
     Attn.: Legal Department                        Phone: (404) 907‐3100
     1277 Lenox Park Boulevard, Suite 200                                                        Landlord                                                          $315,066.75
     Atlanta, Georgia 30319

15   Labaton Sucharow LLP                           Attn.: Legal Department
     Attn.: Legal Department                        Phone: (212) 907‐0652                      Professional
     140 Broadway                                   Email: info@labaton.com                                                                                        $305,124.00
                                                                                                 Services
     New York, New York 10005

16   Fifth Third Bank                               Attn.: Julio Ramirez
     Attn.: Julio Ramirez                           Phone: (513) 579‐5203                         Trade
     38 Fountain Square Plaza                       Email: julio.ramirez@53.com                                                                                    $285,359.94
                                                                                                 Payable
     Cincinnati, Ohio 45202

17   Freshfields Bruckhaus Deringer US LLP          Attn.: Mark Liscio & Scott Talmadge
     Attn.: Mark Liscio & Scott Talmadge            Phone: (212) 277‐4000
     601 Lexington Avenue, 31st Floor               Email: mark.liscio@freshfields.com          Agent Fees                                                         $282,290.00
     New York, New York 10022                              scott.talmadge@freshfields.com

18   Salesforce.Com, Inc.                           Attn.: Legal Department
     Attn.: Legal Department                        Phone: (415) 901‐7000                         Trade
     415 Mission Street, 3rd Floor                  Email: payment@salesforce.com                                                                                  $265,219.50
                                                                                                 Payable
     San Francisco, California 94105

19   Angeles Food Corp.                             Attn.: Heidi Perez
     Attn.: Heidi Perez                             Email: elindiobakery@gmail.com                Trade
     4245 East 4th Avenue                                                                                                                                          $263,689.37
                                                                                                 Payable
     Hialeah, Florida 33013

20   Lyft, Inc.                                     Attn.: Legal Department
     Attn.: Legal Department                        Phone: (844) 493‐9881                         Trade
     185 Berry Street, Suite 5000                   Email: accountsreceivable@lyft.com                                                                             $258,864.57
                                                                                                 Payable
     San Francisco, California 94107



Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 2
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Debtor      Cano Health, LLC                                                                       Case number (if known)           24-_____ ( )
            Name

Name of creditor and complete mailing address,      Name, telephone number, and email          Nature of the      Indicate if      Amount of unsecured claim
including zip code                                  address of creditor contact                     claim          claim is        If the claim is fully unsecured, fill in only
                                                                                               (for example,     contingent,       unsecured claim amount. If claim is partially
                                                                                                trade debts,    unliquidated,      secured, fill in total claim amount and
                                                                                                bank loans,      or disputed       deduction for value of collateral or setoff to
                                                                                                professional                       calculate unsecured claim.
                                                                                               services, and
                                                                                                government
                                                                                                 contracts)
                                                                                                                                     Total        Deduction      Unsecured claim
                                                                                                                                   claim, if     for value of
                                                                                                                                   partially     collateral or
                                                                                                                                   secured          setoff
21   2380‐90 NW 7 Street LLC                        Attn.: Ric Arcadi
     Attn.: Ric Arcadi                              Phone: (440) 725‐3762
     6924 NW 113th Place                            Email: ric@image1group.com                   Landlord                                                          $246,202.42
     Doral, Florida 33178

22   107 Commercial Property LLC                    Attn.: Myriam Goldsmith
     Attn.: Myriam Goldsmith                        Phone: (305) 903‐8936
     2260 NW 114 Avenue                             Email: myriam@dgs.group                      Landlord                                                          $244,923.00
     Miami, Florida 33172

23   The Wellness Circle                            Attn.: Jozef Opdeweegh
     Attn.: Jozef Opdeweegh                         Email: jos@opdeweegh.com
     3785 NW 82nd Avenue, Suite 400‐408                                                         Settlement                                                         $240,000.00
     Miami, Florida 33166

24   Coral Reef Medical Group, LLC                  Attn.: Robert Blanco
     Attn.: Robert Blanco                           Phone: (786) 243‐0149                         Trade
     30334 Old Dixie Highway                        Email: rblanco@coralreefmedical.com                                                                            $233,772.88
                                                                                                 Payable
     Homestead, Florida 33033

25   Milliman Inc.                                  Attn.: Legal Department
     Attn.: Legal Department                        Email: web_team@milliman.com                  Trade
     3424 Peach Tree Road NE                                                                                                                                       $205,715.00
                                                                                                 Payable
     Atlanta, Georgia 30326

26   VPRE Real Holdings LLC                         Attn.: Victor Diaz
     Attn.: Victor Diaz                             Phone: (773) 342‐1771
     2719 N. Spaulding Avenue                       Email: nail@dadecook.com                     Landlord                                                          $196,637.00
     Chicago, Illinois 60647

27   Andreas Eliopoulos                             Attn.: Andreas Eliopoulos
     2940 W. Catalpa Avenue                         Phone: (773) 852‐0929
     Chicago, Illinois 60625                        Email: andyelio@yahoo.com                    Landlord                                                          $185,332.80


28   AT&T                                           Attn.: Legal Department
     Attn.: Legal Department                        Phone: (210) 821‐4105
     208 S. Akard Street                            Email: mast@att.com                           Utility                                                          $178,148.46
     Dallas, Texas 75202

29   BDO USA, LLP                                   Attn.: Alexander Binelo
     Attn.: Alexander Binelo                        Phone: (305) 373‐5500
     1450 Brickell Avenue                           Email: abinelo@bdo.com                      Accounting                                                         $167,819.35
     Miami, Florida 33131

30   Regency Centers, L.P.                          Attn.: Isabel Rua
     Attn.: Isabel Rua                              Phone: (305) 493‐5226
     6840 SW 40th Street, Suite 208                 Email: isabelrua@regencycenters.com          Landlord                                                          $156,038.41
     Miami, Florida 33155




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 3
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :   Chapter 11
                                                             :
CANO HEALTH, LLC,                                            :   Case No. 24– ________ (   )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                   PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

                 Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart

reflecting the ownership interests in Cano Health, Inc. and each of its debtor affiliates (each, a

“Debtor” and collectively, the “Debtors”) as of the date hereof. The Debtors respectfully

represent as follows:

                 1.       Equity in Cano Health, Inc. is represented by Class A common stock and

Class B common stock. The Class A common stock is publicly traded on the NYSE under the

symbol “CANO.” Class A common stock is widely held and, in the aggregate, represents

approximately 67.7% of the voting interests and 100% of the economic interests in Cano Health,

Inc. Class B common stock is also widely held and, in the aggregate, represents approximately

32.3% of the voting interests and 0% of the economic interests in Cano Health, Inc. To the best

of the Debtors’ knowledge and belief, as of the date hereof, no publicly held corporation holds

more than 10% of the interests in Cano Health, Inc.

                 2.       Equity in Primary Care (ITC) Intermediate Holdings, LLC is held as

follows: (a) approximately 67.7% economic interest and 100% voting interest held by Cano
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Health, Inc., and (b) approximately 32.3% economic interest and 0% voting interest widely held

by the holders of Cano Health, Inc. Class B common stock. To the best of the Debtors’ knowledge

and belief, as of the date hereof, no publicly held corporation holds more than 10% of the interests

in Primary Care (ITC) Intermediate Holdings, LLC, with the exception of Cano Health, Inc., as

provided herein.

               3.      Primary Care (ITC) Intermediate Holdings, LLC owns 100% of the

membership interests in Cano Health, LLC.

               4.      Except as set forth below, each of the other Debtors listed in Exhibit A is

100% owned by Cano Health, LLC.

               5.      Cano Pharmacy, LLC, a wholly-owned subsidiary of Cano Health, LLC,

owns 100% of the membership interests in (a) IFB Pharmacy, LLC, (b) Belen Pharmacy Group,

LLC, and (c) University Health Care Pharmacy, LLC.

               6.      Physicians Partners Group Merger, LLC, a wholly-owned subsidiary of

Cano Health, LLC, owns 100% of the membership interests in (a) Physicians Partners Group

Puerto Rico, LLC and (b) Physicians Partners Group of FL, LLC.

               7.      Physicians Partners Group of FL, LLC, a wholly-owned subsidiary of

Physicians Partners Group Merger, LLC, owns 100% of the membership interests in PPG Puerto

Rico Blocker, Inc.

               8.      PPG Puerto Rico Blocker, Inc., a wholly-owned subsidiary of Physicians

Partners Group of FL, LLC, owns 100% of the membership interests in Physicians Partners Group

Puerto Rico, LLC.




                                                 2
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                      Exhibit A

                Organizational Chart
                                                                                                                                                                                Case 24-10167-KBO                                        Doc 1           Filed 02/05/24                   Page 35 of 36

                                                                                                                                                                                                                                                                                                                                                                Entity Key
                                                                                                                                                                                                                                                                                                                                                                                           Guarantor Under the CS Credit Agreement,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Excluded Subsidiary
                                                                                                                                                                                                                                                                                                                                                                                           Side-Car Credit Agreement and Unsecured
                                                                                                                                                                                                                       Cano Health,
                                                                                                                                                                                                                                                                                                                                                                                           Notes
                                                                                                                                                                                                                           Inc.
                                                                                                                                                                                                                          (DE)                                                                                                                                                               Borrower/ Issuer

                                                                                                                                                                                                                                    67.72%
                                                                                                                                                                                                                                                                                                                                                                                            Guarantor and Stock Pledged Under                                   Ownership percentages are 100%
                                                                                                                                                                                                                                                                                                                                                                                            the CS Credit Agreement, Side-Car                                   unless otherwise noted
                                                                                                                                                                                                                                                                                                                                                                                            Credit Agreement and Unsecured
                                                                                                                                                                                                                                                                                                                                                                                            Notes
                                                                                                                                                                                                                       Primary Care
                                                                                                                                                                                                                            (ITC)
                                                                                                                                                                                                                        Intermediate
                                                                                                                                                                                                                       Holdings, LLC




                                                                                                                                                                                                                       Cano Health,
                                                                                                                                                                                                                          LLC




                                                                                                                                                                                                                                                                                                                               Orange
                                                                                                                                 Complete                                                                                                                                                                                    Care Group
                       Cano                       Cano PCP                                                                        Medical                                                  Comfort                          CH                                                                                              South Florida                                         Orange Care                                                                           Cano Health
                    Occupational                 Wound Care,                Cano PCP,              Cano Belen,                                               Cano Health                                                                             Cano                                                                   Management                    Orange                                               Total Care                 Cano Health
                                                                                                                                  Billing                                                 Pharmacy 2,                     Dental                                         Cano HP                    CHPR MSO                                                                          IPA                                                                                 Illinois
                     Health, LLC                    LLC                       LLC                     LLC                                                     of Florida,                                                                          Research                                                                   Services                  Accountable                                              ACO,                      Illinois 1
                                                                                                                                and Coding                                                   LLC                       Administrative                                    MSO, LLC                     LLC                                                                         of New York,                                                                           Network,
                                                                                                                                                                 LLC                                                                                 LLC                                                                    Organization,          Care Organization, LLC                                         LLC                      MSO, LLC
                                                                                                                               Services, LLC                                                                           Services LLC                                                                                                                                                   LLC                                                                                   LLC
                                                                                                                                                                                                                                                                                                                                LLC




                                                                                                                                                                                                                                                                                                                                             Orange
                                                                                                                                                                                                                                                                                                                                          Accountable                                                                                                                                 Physicians
                                                                                                                                                                                                                                                                                                                Orange                  Care Organization                                                                                                                              Partners
      Cano Health                   American                    Cano                     Cano                                                                                                           Cano Medical                                                                                                                                                  American                   Orange Care                                            Solis Network
                                                                                                                 Cano Health                   Cano Health                  Cano Health                                                                                                 ACH                   Healthcare                       of                                                                           Cano Health                                                 Group
        Nevada                       Choice                    Personal                 Behavior                                                                                                           Center                       DGM MSO,              Cano PCP                                                                                                 Choice                        IPA                                                 Solutions,
                                                                                                                 New Mexico                     of Puerto                      CA1                                                                                                  Management             Administration, LLC            South Florida                                                                      CA1, LLC                                                  Merger,
       Network,                    Healthcare,                 Behavior                  Health                                                                                                           of West                         LLC                 MSO, LLC                                                                                               Commercial                    of New                                                    LLC
                                                                                                                    LLC                         Rico LLC                     MSO LLC                                                                                                Services, LLC                                             LLC                                                                                                                                        LLC
         LLC                          LLC                        LLC                      LLC                                                                                                           Florida, LLC                                                                                                                                                  ACO, LLC                   Jersey, LLC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Physicians
                                            Cano Health                     Clinical                                                                                                                                                                                                                                                                                                                                                                                Partners                       Physicians
               Cano
                                             New York,                    Research of                                                                                                                                                                                                                                                                                                                                                                                Group                          Partners
             Pharmacy,
                                               IPA,                       Hollywood,                                                                                                                                                                                                                                                                                                                                                                               Puerto Rico,                    Group of FL,
                LLC
                                               LLC                           P.A.                                                                                                                                                                                                                                                                                                                                                                                     LLC                             LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (FL)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    PPG Puerto
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Rico Blocker,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inc.

                IFB
             Pharmacy,
                LLC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Physicians
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Partners
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Group
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Puerto Rico,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LLC
                          University                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (PR)
  Belen                   Health Care
Pharmacy                  Pharmacy,
Group, LLC                   LLC
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 Fill in this information to identify the case:

 Debtor name: Cano Health, LLC
 United States Bankruptcy Court for the District of Delaware

 Case number (If known):        24-_____ ( )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:

         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form 206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule ____
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
         Insiders (Official Form 204)
         Other document that requires a declaration Consolidated Corporate Ownership Statement

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on February 4, 2024
                                                   /s/ Mark Kent
                     MM /DD /YYYY                      Signature of individual signing on behalf of debtor

                                                       Mark Kent
                                                       Printed name

                                                       Authorized Signatory
                                                       Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
